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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )   No.    1:21-cr-28-10 (APM)
                                                 )
KENNETH HARRELSON,                               )
                                                 )
                        Defendant.               )

                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                            MOTION FOR RELEASE

       The Court should summarily deny Defendant Kenneth Harrelson’s motion for release (ECF

341). The defendant’s motion seeks to revoke the detention order issued by Middle District of

Florida Magistrate Judge Embry Kidd on March 15, 2021, pursuant to 18 U.S.C. § 3145(b). But

the motion fails to account for the fact that this Court, on April 14, 2021, already considered and

denied the defendant’s motion to revoke Judge Kidd’s detention order. The defendant therefore

appears to actually be moving to reopen the detention hearing, pursuant to 18 U.S.C. § 3142(f).

Under Section 3142(f), a defendant must show that “information exists that was not known to the

movant at the time of the hearing and that has a material bearing” on the underlying detention

question. It is the movant’s burden to come forth with “new and material information,” which

“must consist of truly changed circumstances, something unexpected, or a significant event.”

United States v. Lee, 451 F. Supp. 3d 1, 5 (D.D.C. 2020) (internal citation and quotation omitted).

       The defendant has not proffered any new or material information. The motion simply cites

United States v. Munchel, 991 F.3d 1273 (D.C. Cir. 2021), which was decided three weeks before

the detention hearing in this case. Indeed, this Court determined that Defendant Harrelson ought

to be detained by applying the standard as enunciated in Munchel. See 4/14/21 Tr. at 75.

        Defendant Harrelson’s motion for release should therefore be denied.
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                      Respectfully submitted,

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